Case 1:25-cv-10380

3544 (Rev. 10/20)

purpose of initiating the civil docket sheet.

Document 1-1

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for ‘tier use of the Clerk of Court for the

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

Filed 02/13/25

Page 1 of

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I. (a) PLAINTIFFS

RANDALL CLARK

(b) County of Residence of First Listed Plaintiff

DEFENDANTS

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attomeys (Finn Name, Address, and Telephone Number)

PROSE

NOTE:

Attomeys (if Known)
UNKNOWN

se. =

32 SPORTS ING:-MATT LAWRENCE, JAMES
LAWRENCE, DUSTIN HIBBERJ}

AR AA RAIA Rem

County of Residence of First Listed Defendant

| AMON HIBBERT,
Harford ‘County

. (IN U.S, PLAINTIFF CASES ONLY)"~

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

II. BASIS OF JURISDICTION (Place an “x” in One Box Only)

(For Diversity Cases Only)

TI. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X" in One Box for Plaintiff

and One Box for Defendant)

oO 1 U.S, Government [x]3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State [x]! [] 1 Incorporated or Principal Place O4 4
of Business In This State
(J2 U.S. Government (14 Diversity Citizen of Another Statc C2 [x] 2 Incorporated and Principal Place ([] 5 [kx]s5
Defendant (Indicate Citizenship of Parties in Item IIL) of Business In Another State
Citizen or Subject of a L)3 [) 3 Foreign Nation Cle (6
Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only) Click here for: Nature of Suit Code Descriptions.
__ CONTRACT. : _____ TORTS FORFEITURE/PENALTY_|__”_ BANKRUPTCY
110 Insurance PERSONAL INJURY PERSONAL INJURY | 625 Drug Related Seizure 422 Appcal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane oO 365 Personal Injury - of Property 21 USC 881] 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability T1690 Other 28 USC 157 3729%a))
140 Negotiable Instrument Liability oO 367 Health Care/ 400 State Reapportionment
150 Recovery of Overpayment 320 Assault, Libel & Pharmaccutical 410 Antitrust
& Enforcement of Judg Sland Personal Injury 820 Copyrights |_| 430 Banks and Banking
151 Medicare Act 330 Federal Employers’ Product Liability 830 Patent |_| 450 Commerce
H 152 Recovery of Defaulted Liability [LJ 368 Asbestos Personal 835 Patent - Abbreviated {| | 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application |_| 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability 840 Trademark Corrupt Organizations
(1153 Recovery of Overpayment Liability PERSONAL PROPERTY [_.__. LABOR. |_| 880 Defend Trade Secrets | 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
[_] 160 Stockholders’ Suits 355 Motor Vehicle 371 Truth in Lending Act |_| 485 Telephone Consumer
|] 190 Other Contract Product Liability {_] 380 Other Personal | _1720 Labor/Management = SOGIALS =a Protection Act
195 Contract Product Liability HI 360 Other Personal Property Damage Relations 861 HIA (1395ff) 490 Cable/Sat TV
196 Franchise Injury oO 385 Property Damage 740 Railway Labor Act 862 Black Lung (923) 850 Sccuritics/Commoditics/
] 362 Personal Injury - Product Liability 751 Family and Medical 863 DIWC/DIWW (405(g)) |_ Exchange
Medical Malpractice Leave Act 864 SSID Title XVI |_| 890 Other Statutory Actions
[_._REALPROPERTY _-| _CIVIL t 790 Other Labor Litigation 865 RSI (405(g)) |_| 891 Agricultural Acts
210 Land Condemnation 1x | 440 Other Civil Rights Habeas Corpus: 791 Employee Retirement | | 893 Environmental Matters
220 Foreclosure |_| 441 Voting 463 Alicn Detainee Income Security Act = PAX: 4 | 895 Freedom of Infor
230 Rent Lease & Ejectment = |_) 442 Employment 510 Motions to Vacate 870 Taxes (U.S. Plaintiff Act
240 Torts to Land |_| 443 Housing/ Sentence or Defendant) 896 Arbitration
245 Tort Product Liability Accommodations T | 530 Gencral T | 871 IRS—Third Party 899 Administrative Procedure
[ }290 All Other Real Property [_] 445 Amer. w/Disabilitics -[”_] 535 Death Penalty [IMMIGRATION _| 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Naturalization Application Agency Decision
| 446 Amer. w/Disabilities -[__ | 540 Mandamus & Other ie Other Immigration ] 950 Constitutionality of
Other 550 Civil Rights Actions State Statutes
|] 448 Education 555 Prison Condition

560 Civil Detainee -
Conditions of
Confinement

V. ORIGIN (Place an “X" in One Box Only)

[x] 1 Original

C2 Removed from

3

Remanded from

4 Reinstated or oO 5 Transferred from

6 Multidistrict

oO 8 Multidistrict

Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File
Cite the U.S. Civil Statute under which you are filing (De rot cite jurisdictional untess diversity):
42 U.S.C. § 1983
VI. CAUSE OF ACTION Brief description of cause:
ASSAULT & BATTERY DIVERSITY CASE
VII. REQUESTEDIN = [1 CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: — [xlYes {]No
VIII. RELATED CASE(S)
(See instructions):
IF ANY ° JUDGE DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
FEBRUARY 13, 2025 és/ Randall Clark
FOR OFFICE USE ONLY
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

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